              Case 1:19-cv-06453-ER Document 1 Filed 07/11/19 Page 1 of 12



LEE LITIGATION GROUP, PLLC
C.K. Lee (CL 4086)
Brandon Sherr (BS 2680)
148 West 24th Street, Eighth Floor
New York, NY 10011
Tel.: 212-465-1188
Fax: 212-465-1181
Attorneys for Plaintiff and the Class

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 ---------------------------------------------------------x
TRANG NGUYEN,                                             :
on behalf of herself and all others similarly             :
situated,                                                 :
                                                          :    Case No.
                              Plaintiff,
                                                          :
                                                          :    CLASS ACTION COMPLAINT
                       - against -                        :
                                                          :
SMILEDIRECTCLUB, LLC,                                     :    JURY TRIAL DEMANDED
                                                          ::
                              Defendant.
---------------------------------------------------------x


         Plaintiff TRANG NGUYEN (hereinafter “Plaintiff” or “Plaintiff NGUYEN”), on behalf

of herself and all others similarly situated, by her undersigned attorneys, as for her Complaint

against the Defendant, SMILEDIRECTCLUB, LLC, alleges the following:

                                                 NATURE OF ACTION

         1.       This action is brought by Plaintiff TRANG NGUYEN on behalf of herself and all

consumers in the United States who have received unsolicited and unconsented-to commercial text

messages to their mobile phones from SMILEDIRECTCLUB, LLC (herein “Defendant or SMILE

DIRECT”) in violation of the Telephone Consumer Protection Act 47 U.S.C. § 227 et seq.




                                                           1
            Case 1:19-cv-06453-ER Document 1 Filed 07/11/19 Page 2 of 12



                                   JURISDICTION AND VENUE

       2.      The Court has federal question jurisdiction over this action under 28 U.S.C. § 1331

because this action arises out of a violation of federal law—47 U.S.C. § 227(b). See Mims v. Arrow

Fin. Serv., LLC 132 S. Ct. 740 (2012).

       3.      Venue is proper in this District under 28 U.S.C § 1391 because Defendant’s

violation of the TCPA took place in this District, where Plaintiff NGUYEN received a prerecorded

commercial phone call to her mobile phone.

                                             PARTIES

Plaintiff

       4.      Plaintiff NGUYEN resides in the state of New York.

Defendant

       5.      Defendant, SMILEDIRECTCLUB, LLC, is dental alignment company with a

principle office at 414 Union Street FL 8, Nashville, TN 37219 and address for service of process

located at the CORPORATION SERVICE COMPANY, 80 State Street, New York, NY 12207.

                                     FACTUAL ALLEGATIONS

       The Telephone Consumer Protection Act

       6.      The Telephone Consumer Protection Act (“TCPA”), 47 U.S.C. § 227 et seq., was

enacted by Congress in 1991 and is implemented by the Federal Communications Commission

(“FCC”). In its June 18, 2015 Declaratory Ruling and Order (“2015 TCPA Order”), the FCC

explained the original purposes of the TCPA:

       As its very name makes clear, the Telephone Consumer Protection Act is a broad
       “consumer protection” statute that addresses the telemarketing practices not just of
       bad actors attempting to perpetrate frauds, but also of “legitimate businesses”
       employing calling practices that consumers find objectionable… The TCPA makes
       it unlawful for any business—“legitimate” or not—to make robocalls that do not
       comply with the provisions of the statute. While the Commission has traditionally

                                                2
            Case 1:19-cv-06453-ER Document 1 Filed 07/11/19 Page 3 of 12



       sought to “reasonably accommodate[] individuals’ rights to privacy as well as the
       legitimate business interests of telemarketers,”…, we have not viewed “legitimate”
       businesses as somehow exempt from the statute, nor do we do so today.

       2015 TCPA Order ¶ 2 n.6

       7.      The 2015 TCPA Order also explained the continuing relevance of the TCPA,

especially in connection with wireless consumers:

       Month after month, unwanted robocalls and texts, both telemarketing and
       informational, top the list of consumer complaints received by the Commission.
       The Telephone Consumer Protection Act (TCPA) and our rules empower
       consumers to decide which robocalls and text messages they receive, with
       heightened protection to wireless consumers, for whom robocalls can be costly and
       particularly intrusive… With this Declaratory Ruling and Order, we act to preserve
       consumers’ rights to stop unwanted robocalls, including both voice calls and texts,
       and thus respond to the many who have let us, other federal agencies, and states
       know about their frustration with robocalls.

       2015 TCPA Order ¶ 1

       8.      The TCPA makes it “unlawful for any person… to make any call (other than a call

made for emergency purposes or made with the prior express consent of the called party) using

any automatic telephone dialing system or an artificial or prerecorded voice… to any telephone

number assigned to a paging service, cellular telephone service… or any service for which the

called party is charged for the call…” 47 U.S.C. § 227(b)(1)(A)(iii).

       9.      “Prior express content” requires:

       an agreement, in writing, bearing the signature of the person called that clearly
       authorizes the seller to deliver or cause to be delivered to the person called
       advertisements or telemarketing messages using an automatic telephone dialing
       system or an artificial or prerecorded voice, and the telephone number to which the
       signatory authorizes such advertisements or telemarketing messages to be
       delivered.

       47 C.F.R. § 64.1200(f)(8)


       10.     In addition, the written agreement must include a clear and conspicuous disclosure



                                                   3
          Case 1:19-cv-06453-ER Document 1 Filed 07/11/19 Page 4 of 12



informing the signer that:

       By executing the agreement, such person authorizes the seller to deliver or cause to
       be delivered to the signatory telemarketing calls using an automatic telephone
       dialing system or an artificial or prerecorded voice;

       § 64.1200(f)(8)(i)(A)

       and

       The person is not required to sign the agreement (directly or indirectly), or agree to
       enter into such an agreement as a condition of purchasing any property, goods, or
       services.

       § 64.1200(f)(8)(i)(B)

       11.      The 2015 TCPA Order reaffirmed the FCC’s longstanding position that text

messages qualify as “calls” under the TCPA. ¶107.

       12.      Additionally, the 2015 TCPA Order confirmed that text messages which originate

from the Internet fall within the ambit of the TCPA’s prohibitions. The text and legislative history

of the TCPA revealed “Congress’s intent to give the Commission broad authority to enforce the

protections from unwanted robocalls as new technologies emerge.” ¶ 113

Defendant Violated the TCPA

       13.      Plaintiff NGUYEN has never purchased or done business with SMILE DIRECT.

Plaintiff NGUYEN never consented to receiving promotional and marketing text messages on her

mobile phone.

       14.      On June 26, 2019, Plaintiff NGUYEN received the text below from Defendant,

promoting its services:




                                                 4
              Case 1:19-cv-06453-ER Document 1 Filed 07/11/19 Page 5 of 12




           15.     The impersonal nature of the messages sent to Plaintiff NGUYEN from a short code

number shows that SMILE DIRECT uses an auto dialer/texter to send its message. Short code

numbers are widely used in automated services.1 The word automation is defined in the dictionary

as “the technique, method, or system of operating or controlling a process by highly automatic

means, as by electronic devices, reducing human intervention to a minimum”2. Defendant does

not send messages to its customers on an individual basis that requires human intervention for each

message sent. Defendant’s unsolicited messages and the process is automated. Other members of

the class received the exact same messages at around the same time.




1
    https://www.techopedia.com/definition/22052/short-code
2
    http://www.dictionary.com/browse/automation

                                                         5
             Case 1:19-cv-06453-ER Document 1 Filed 07/11/19 Page 6 of 12



         16.       Defendant sent similar unsolicited marketing texts using an automated telephone

texting system to other similarly situated persons, who likewise never consented to receiving them.

The text message sent to Plaintiff NGUYEN was unwanted, annoying, and a nuisance. Plaintiff

NGUYEN would often expect important business and personal messages, updates, and had to open

her phone to Defendant’s invasive message instead. In order to identify the sender, Plaintiff would

have to unlock her phone and view the actual message. The message was disruptive and diminished

the Plaintiff’s usage and enjoyment of her phone. The Second Circuits recent decision has

acknowledged that such non-financially related injury allegations are enough to support standing

under the TCPA; See Mejia v Time Warner Cable, Inc., 2017 US Dist LEXIS 120445 [SDNY

Aug. 1, 2017, No. 15-CV-6445 (JPO)].) Plaintiff NGUYEN has a concrete injury sufficient to

confer Article III standing. See Van Patten v Vertical Fitness Group, LLC, 847 F3d 1037(9th Cir.

2017) (“Unsolicited telemarketing phone calls or text messages, by their nature, invade the privacy

and disturb the solitude of their recipients. A plaintiff alleging a violation under the TCPA "need

not allege any additional harm beyond the one Congress has identified.”); Melito v. Am. Eagle

Outfitters, Inc., No. 14-CV-2440 (VEC), 2017 U.S. Dist. LEXIS 146343 (S.D.N.Y. Sep. 8, 2017).

                                        CLASS ACTION ALLEGATIONS

         17.       Plaintiff NGUYEN seeks to represent a class consisting of:

                   All persons in the United States who, beginning four years prior to
                   the filing of this action, received unsolicited text messages to their
                   cellular phones from Defendant3 (the “Nationwide Class”)

3
  See Fitzhenry-Russell v. Dr. Pepper Snapple Grp., No. 17-cv-00564 NC, 2017 U.S. Dist. LEXIS 155654, at *15
(N.D. Cal. Sep. 22, 2017) (“Yet the Supreme Court did not extend its reasoning to bar the nonresident plaintiffs' claims
here, and Bristol-Myers is meaningfully distinguishable based on that case concerning a mass tort action, in which
each plaintiff was a named plaintiff.”);In re Chinese-Manufactured Drywall Prods. Liab. Litig., No. 09-2047, 2017
U.S. Dist. LEXIS 197612, at *52-53 (E.D. La. Nov. 28, 2017) (“it is clear and beyond dispute that Congress has
constitutional authority to shape federal court's jurisdiction beyond state lines to encompass nonresident parties” and
interpreting Bristol-Meyers as barring nationwide class actions where jurisdiction over defendant is specific “would
require plaintiffs to file fifty separate class actions in fifty or more separate district courts across the United States —
in clear violation of congressional efforts at efficiency in the federal courts.”); Horton v. USAA Cas. Ins. Co., 266
F.R.D. 360, 364 (D. Ariz. 2009) (“Objectors argue that this Court lacks jurisdiction to certify a nationwide class. This

                                                             6
           Case 1:19-cv-06453-ER Document 1 Filed 07/11/19 Page 7 of 12




        18.     In the Alternative, Plaintiff NGUYEN seeks to represent a class consisting of

                All persons in New York who, beginning four years prior to the
                filing of this action, received unsolicited text messages to their
                cellular phones from Defendant (the “New York Class”)

        19.     The proposed Classes exclude current and former officers and directors of

Defendant, members of the immediate families of the officers and directors of Defendant,

Defendant’s legal representatives, heirs, successors, assigns, and any entity in which it has or has

had a controlling interest, and the judicial officer to whom this lawsuit is assigned.

        20.     Plaintiff reserves the right to revise the Class definition based on facts learned in

the course of litigating this matter.

        21.     Class members are so numerous that joinder of all members is impracticable. While

the exact number of Class members is unknown to Plaintiff at this time and can only be ascertained

through the appropriate discovery, Plaintiff believes that there are thousands of Class members,

who may be identified from records maintained by Defendant or by their own record of text

messages. These members may be notified of the pendency of this action by mail, or by

advertisement, using the form of notice customarily used in class actions such as this.

        22.     Plaintiff’s claims are typical of the claims of all Class members as all Class

members are similarly affected by Defendant’s wrongful conduct.

        23.     Plaintiff will fairly and adequately protect the interests of Class members because

Plaintiff has no interests antagonistic to theirs. Plaintiff has retained experienced and competent

counsel.




argument is frivolous. A federal court applying Rule 23 of the Federal Rules of Civil Procedure may certify a
nationwide class if the requirements for certification are satisfied.”).

                                                     7
           Case 1:19-cv-06453-ER Document 1 Filed 07/11/19 Page 8 of 12



       24.       A class action is superior to other available methods for the fair and efficient

adjudication of this controversy. Since the damages sustained by individual Class members may

be relatively small, the expense and burden of individual litigation make it impracticable for Class

members to individually seek redress for the wrongful conduct alleged herein. If class treatment

of these claims were not available, Defendant would likely be able to persist in its unlawful conduct

with impunity.

       25.       Common questions of law and fact exist as to all Class and predominate over any

questions solely affecting individual Class members. Among the questions of law and fact

common to the Classes are:

             a. whether Defendant sent unsolicited marketing text messages to cellular phones

                 belonging to Plaintiff and the Classes;

             b. whether Defendant used an automated telephone texting system to do so;

             c. whether text recipients provided their prior express consent;

             d. whether Defendant’s conduct is intentional or negligent; and

             e. whether Plaintiff and the Classes are entitled to damages for Defendant’s conduct.

       26.       Class membership is readily ascertainable from electronic records.

       27.       The prosecution of this action as a class action will reduce the possibility of

repetitious litigation. Plaintiff knows of no difficulty which will be encountered in the management

of this litigation which would preclude its maintenance as a class action.

       28.       A class action is superior to other available methods for the fair and efficient

adjudication of this controversy. The damages suffered by any individual class member are too

small to make it economically feasible for an individual class member to prosecute a separate

action, and it is desirable for judicial efficiency to concentrate the litigation of the claims in this



                                                  8
          Case 1:19-cv-06453-ER Document 1 Filed 07/11/19 Page 9 of 12



forum. Furthermore, the adjudication of this controversy through a class action will avoid the

potentially inconsistent and conflicting adjudications of the claims asserted herein.

       29.     The prerequisites to maintaining a class action for injunctive relief or equitable

relief pursuant to Rule 23(b)(2) are met, as Defendant acts or refuses to act on grounds generally

applicable to the Classes, thereby making appropriate final injunctive or equitable relief with

respect to the Classes as a whole.

       30.     The prerequisites to maintaining a class action for injunctive relief or equitable

relief pursuant to Rule 23(b)(3) are met, as questions of law or fact common to the Classes

predominate over any questions affecting only individual members and a class action is superior

to other available methods for fairly and efficiently adjudicating the controversy.

       31.     The prosecution of separate actions by Class members would create a risk of

establishing inconsistent rulings and/or incompatible standards of conduct for Defendant.

Additionally, individual actions may be dispositive of the interest of all members of the Class,

although certain members of the proposed Class are not parties to such actions.

       32.     Defendant’s conduct is generally applicable to the Class as a whole and Plaintiff

seeks, inter alia, equitable remedies with respect to the Class as a whole. As such, Defendant’s

systematic policies and practices make declaratory relief with respect to the Classes as a whole

appropriate.




                                                 9
            Case 1:19-cv-06453-ER Document 1 Filed 07/11/19 Page 10 of 12



                                      CAUSES OF ACTION

                                             COUNT I

         VIOLATION OF THE TELEPHONE CONSUMER PROTECTION ACT
                            47 U.S.C. § 227 et seq.

                            (Brought on behalf of Plaintiff and Class)

       33.      Plaintiff NGUYEN realleges and incorporates herein by references the allegations

contained in all preceding paragraphs and further alleges as follows:

       34.      Plaintiff NGUYEN brings this claim individually and on behalf of the other

members of the Class for Defendant’s violations of the TCPA.

       35.      Defendant directly or vicariously violates the TCPA when it uses an automated

telephone texting system to send unsolicited and unauthorized marketing texts to the cellular

phones of Plaintiff and the Class.

       36.       The TCPA, 47 U.S.C. § 227(b)(3), provides:

       (1) Private right of action. A person or entity may, if otherwise permitted by the
           laws or rules of court of a State, bring in an appropriate court of that State--
             (A) an action based on a violation of this subsection or the regulations
                 prescribed under this subsection to enjoin such violation,
             (B) an action to recover for actual monetary loss from such a violation, or to
                 receive $ 500 in damages for each such violation, whichever is greater, or
             (C) both such actions.

       37.      Additionally, the TCPA provides that the Court may, at its discretion, treble the

statutory damages if it finds that Defendant’s violation are willful or knowing. 47 U.S.C. §

227(b)(3)

       38.      Defendant’s violations of the TCPA were willful and knowing. Defendant would

be liable to Plaintiff and the Class even if their actions were negligent.



                                                 10
          Case 1:19-cv-06453-ER Document 1 Filed 07/11/19 Page 11 of 12



        39.    Defendant should also be enjoined from engaging in similar unlawful conduct in

the future.

        40.    Accordingly, Plaintiff and the Class are entitled to all damages referenced herein,

attorney’s fees, costs, treble damages, injunctive relief, and any other remedies allowed by the

TCPA.

                                    PRAYER FOR RELIEF

        WHEREFORE, Plaintiff, on behalf of herself and all others similarly situated, prays for

relief and judgment against Defendant as follows:

        (A)    For an Order certifying the Class under Rule 23 of the Federal Rules of Civil

Procedure and naming Plaintiff as representative of the Class and Plaintiff’s attorneys as Class

Counsel to represent members of the Class;

        (B)    For an Order declaring that Defendant’s conduct violates the TCPA;

        (C)    For an Order finding in favor of Plaintiff and members of the Class;

        (D)    For statutory or treble damages for each violation of the TCPA, as determined by

the evidence presented at trial;

        (E)    For prejudgment interest on all amounts awarded;

        (G)    For an Order enjoining Defendant from further violations of the TCPA;

        (H)    For an Order awarding Plaintiff and members of the Class their reasonable

attorney’s fees and expenses and costs of suit; and

        (I)    For such other and further relief as the Court deems just and proper.




                                                11
          Case 1:19-cv-06453-ER Document 1 Filed 07/11/19 Page 12 of 12



                              DEMAND FOR TRIAL BY JURY

       Pursuant to Rule 38(b) of the Federal Rule of Civil Procedure, Plaintiff, on behalf of herself

and the Class, demand a trial by jury on all questions of fact raised by this Complaint.



Dated: July 11, 2019
                                              Respectfully submitted,


                                              LEE LITIGATION GROUP, PLLC


                                              By: /s/ C.K. Lee
                                                  C.K. Lee, Esq.

                                              C.K. Lee (CL 4086)
                                              Brandon Sherr (BS 2680)
                                              148 West 24th Street, Eighth Floor
                                              New York, NY 10011
                                              Tel.: 212-465-1188
                                              Fax: 212-465-1181
                                              Attorneys for Plaintiff and the Class




                                                12
